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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF ARKANSAS
                                      HARRISON DIVISION

IN RE:                              )
                                    )
MARILYN LOUISE ERICKSON             )                 CASE NO.: 3:19-bk-70508
                                    )                 CHAPTER: 7
      DEBTOR(S).                    )
____________________________________/

       ORDER WITHDRAWING MOTION FOR RELIEF FROM AUTOMATIC STAY
                          (DOCUMENT NO. 10)


          Being fully advised, the Court hereby Orders the Motion for Relief filed by Nationstar

 Mortgage LLC d/b/a Mr. Cooper, [DE 10] withdrawn. All pending hearings on the motion are

 canceled.

                                          IT IS SO ORDERED.



                                          Hon. Ben T Barry, United States Bankruptcy Court Judge


                                                    05/16/2019




 Prep ared b y:
 Albertelli Law
 James McPherson, Bar Number: 2011038




                      EOD: May 16, 2019
